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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 JOSE M. LOPEZ and DANESSA LOPEZ,                 )
                                                  )
                                Plaintiffs,       )
                                                  )    No.
                         v.                       )
                                                  )
 ESPERANZA HEALTH CENTER, a                       )
 corporation, MIGUEL PENA, M.D.,                  )
 individually, ANDREW JACOB VAN                   )    Formerly case no. 2017 L 001881
 WIEREN, M.D., MARIA SILVA, M.D., and             )    Circuit Court of Cook County, Illinois
 GILLIAN CONNELLY, APN,                           )
                                                  )
                                Defendants.       )

                   NOTICE OF REMOVAL OF A CIVIL ACTION AND
                SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

  To:        Dorothy Brown                              Susan E. Loggans
             Clerk of the Circuit Court                 Susan E. Loggans & Associates, P.C.
             Richard J. Daley Center, Room 1001         222 N. LaSalle Street, Suite 460
             50 West Washington Street                  Chicago, Illinois 60601
             Chicago, Illinois 60602

             Sammi L. Renken
             Johnson & Bell, Ltd.
             33 W. Monroe Street, Suite 2700
             Chicago, Illinois 60603

        The United States of America, by its attorney, Joel R. Levin, Acting United States Attorney

for the Northern District of Illinois, submits this notice of removal of the above-captioned civil

action from the Circuit Court of Cook County, Illinois, to the United States District Court,

Northern District of Illinois, pursuant to 42 U.S.C. § 233, and in support states the following:

        1.       On February 22, 2017, plaintiffs Jose and Danessa Lopez commenced the above

civil action against Esperanza Health Centers, Dr. Miguel Pena, Dr. Andrew Jacob Van Wieren,

Dr. Maria Silva, and Gillian Connelly, F.N.P. alleging medical malpractice. Plaintiffs filed their
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first amended complaint on March 7, 2017. A copy of the state court amended complaint and

original complaint are attached as Exhibit A. For purposes of this lawsuit, Esperanza Health

Centers is a private entity that receives grant money from the Public Health Service pursuant to 42

U.S.C. § 233. Exhibit B. In addition, Dr. Pena, Dr. Van Wieren, Dr. Silva, and Connelly were

acting within the scope of their employment at Esperanza Health Centers with respect to the

incidents referred to in the complaint. Id.

       2.      This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that defendant Esperanza

Health Centers was a private entity receiving grant money from the Public Health Service and that

defendants Dr. Pena, Dr. Van Wieren, Dr. Silva, and Connelly were acting within the scope of

their employment at Esperanza Health Centers with respect to the incidents referred to in the

complaint. Exhibit B.

       3.      On April 5, 2017, the case was first removed by the private defendants to the United

States District for the Northern District of Illinois. Lopez, et al. v. Esperanza Health Centers, et

al., No. 17 C 2593, Dkt. 1, Notice of Removal. However, by agreement of the private parties, the

court remanded the case to the Circuit Court of Cook County without prejudice. Id. at Dkt. 15,

Order. Per Local Rule 40.3(b)(3), this case should be assigned to Judge Ellis because when a

previously remanded case is removed again, the case “shall be assigned to the judge who

previously ordered it to be remanded.”

       4.      This notice of removal may be filed without bond at any time before trial. 42 U.S.C.

§ 233(c). Trial has not yet been had in this action.

       5.      Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 42 U.S.C. § 233(c), this civil action is deemed an action against the



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United States, and the United States is substituted as the sole federal party defendant in place of

defendants Esperanza Health Centers, Miguel Pena, M.D., Andrew Jacob Van Wieren, M.D.,

Maria Silva, M.D., and Gillian Connelly, F.N.P.

       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of Esperanza Health Centers, Miguel Pena, M.D., Andrew Jacob Van Wieren,

M.D., Maria Silva, M.D., and Gillian Connelly, F.N.P.

                                             Respectfully submitted,

                                             JOEL R. LEVIN
                                             Acting United States Attorney

                                             By: s/ Kathleen M. Flannery
                                                KATHLEEN M. FLANNERY
                                                Assistant United States Attorney
                                                219 South Dearborn Street
                                                Chicago, Illinois 60604
                                                (312) 353-7223
                                                kathleen.flannery@usdoj.gov




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